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 5

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 7
                           IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

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11
     UNITED STATES OF AMERICA,           )               CASE NO. 1:13-CR-00036-LJO-SKO
12                                       )
                 Plaintiff,              )               MOTION TO DISMISS CASE AS TO
13
                                         )               DEFENDANT NGA THIEN NGUYEN
14                                       )
     NGA THIEN NGUYEN,                   )
15                                       )
                 Defendant.              )
16                                       )
                                         )
17
     ____________________________________)
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19          The United States moves the Court to dismiss the pending case in its entirety against defendant
20 NGA THIEN NGUYEN. This request is based on the defendant’s compliance with the terms and

21
     conditions of the deferred prosecution agreement.
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23
     DATED: January 14, 2015                                    Respectfully submitted,
24

25                                                              BENJAMIN B. WAGNER
                                                                United States Attorney
26
                                                                By: /s/ Grant B. Rabenn
27                                                              GRANT B. RABENN
                                                                Assistant U.S. Attorney
28
     Motion and Order to Dismiss Case

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           Case 1:13-cr-00036-LJO-SKO Document 139 Filed 01/15/15 Page 2 of 2



 1                         IN THE UNITED STATES DISTRICT COURT FOR THE
 2
                                    EASTERN DISTRICT OF CALIFORNIA
 3

 4
     UNITED STATES OF AMERICA,                 )           CASE NO. 1:13-CR-00036-LJO-SKO
 5                                             )
 6                      Plaintiff,             )           ORDER RE: MOTION TO DISMISS
                                               )
 7               v.                            )
                                               )
 8   NGA THIEN NGUYEN,                         )
                                               )
 9
                       Defendant.              )
10   __________________________________________)

11
            Pursuant to the motion by the United States, IT IS HEREBY ORDERED that the pending
12
     case against defendant NGA THIEN NGUYEN be dismissed in its entirety.
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15 IT IS SO ORDERED.

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        Dated:     January 15, 2015                    /s/ Lawrence J. O’Neill
17                                                UNITED STATES DISTRICT JUDGE

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     Motion and Order to Dismiss Case

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